Case 2:21-cv-06239-MCS-RAO Document 15 Filed 09/27/21 Page 1 of 2 Page ID #:77




   1
       STEPHEN M. LOBBIN
       sml@smlavvocati.com
   2   SML AVVOCATI P.C.
   3
       888 Prospect Street, Suite 200
       San Diego, California 92037
   4   (949) 636-1391 (Phone)
   5
       Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
   6

   7
                       IN THE UNITED STATES DISTRICT COURT
   8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        ROTHSCHILD BROADCAST
        DISTRIBUTION SYSTEMS, LLC,
  11
                           Plaintiff,               CASE NO.: 2:21-cv-06239-MCS-RAO
  12
        v.
  13
                                                      REPORT OF SETTLEMENT AND
  14    MOBI TECHNOLOGIES, INC.,                      MOTION TO STAY ALL
                                                      DEADLINES
  15                       Defendant.
  16

  17

  18
             Pursuant to L.R. 16-15.7 (“Report of Settlement”), Plaintiff advises the Court

  19
       that the parties have reached an agreement in principle that will settle and dispense of

  20
       this matter. The Parties are in the process of memorializing the terms of a written

  21
       settlement agreement and anticipate they will be able to perform such terms within

  22
       thirty (30) days. Accordingly, Plaintiff respectfully requests that the Court stay the

  23
       proceedings in this action, including all deadlines, up to or until October 27, 2021.

  24
       Defendant is unopposed to the relief requested herein.

  25
             Good cause exists for granting this Unopposed Motion, as set forth above. The

  26
       motion is not filed for purposes of delay but so that justice may be served.

  27

  28

                                                1
                      REPORT OF SETTLEMENT AND MOTION TO STAY ALL DEADLINES
Case 2:21-cv-06239-MCS-RAO Document 15 Filed 09/27/21 Page 2 of 2 Page ID #:78




   1   Dated: September 27, 2021            Respectfully submitted,
   2
                                            /s/ Stephen M. Lobbin
   3                                        Stephen M. Lobbin
   4
                                            sml@smlavvocati.com
                                            SML AVVOCATI P.C.
   5                                        888 Prospect Street, Suite 200
   6                                        San Diego, California 92037
                                            (949) 636-1391 (Phone)
   7

   8                                        Attorney(s) for Plaintiff Rothschild
                                            Broadcast Distribution Systems, LLC
   9

  10                            CERTIFICATE OF SERVICE

  11          I hereby certify that on September 27, 2021, I electronically transmitted the
  12   foregoing document using the CM/ECF system for filing, which will transmit the
       document electronically to all registered participants as identified on the Notice of
  13   Electronic Filing, and paper copies have been served on those indicated as non-
  14   registered participants.
                                             /s/ Stephen M. Lobbin
  15                                         Stephen M. Lobbin
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                                2
                      REPORT OF SETTLEMENT AND MOTION TO STAY ALL DEADLINES
